     Case 8:19-cr-00061-JVS Document 775 Filed 08/23/21 Page 1 of 9 Page ID #:17187




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 7
                               UNITED STATES DISTRICT COURT
 8
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10    UNITED STATES OF AMERICA,                     SA CR No. 19-061-JVS
11                Plaintiff,                        DEFENDANT’S STATUS REPORT RE
12                       v.                         SEARCH OF SERVERS FOR
                                                    FINANCIAL DATA
13    MICHAEL JOHN AVENATTI,
14                Defendant.
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17         Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”) by and through his
18   advisory counsel of record, H. Dean Steward, and as directed by the Court earlier today,
19   hereby files his Status Report re Search of Servers for Financial Data.
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     Case 8:19-cr-00061-JVS Document 775 Filed 08/23/21 Page 2 of 9 Page ID #:17188




 1         On August 15, 2021, Mr. Avenatti filed a Notice of Motion and Motion to Dismiss
 2   the Case or In the Alternative Motion for Mistrial due to the Government’s (1) Failure to
 3   Produce Information as Required by Rule 16, Brady, Giglio, and (2) Contempt of this
 4   Court’s January 25, 2021 Order. This motion was brought as a result of the
 5   government’s alleged failure to produce the Tabs and complete QuickBooks data from
 6   the Eagan Avenatti, LLP servers. [Dkt. 706.] In preparation for the hearing on this
 7   motion, the Court ordered:
 8
           “Obviously the Tabs issue is an important one, and I would like Mr.
 9         Fitzgerald here or his designee or whoever is heading up the taint team. I want
10         to know whether the Tabs data is in the materials that the taint team holds.
           The present record would seem to indicate that no inquiry has been made of
11         the taint team with respect to the Tabs data.”
12         See, e.g., Trial Tr. (8/19/21, Vol. 1) p. 23.
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14         On August 20, 2021, the Court held a hearing on the matter with AUSA Patrick
15   Fitzgerald, head of the Privilege Review Team (the “PRT”), present. At the conclusion
16   of the hearing, the Court ordered the PRT to cooperate with the defense over the
17   weekend in order to allow for searches for financial information to be conducted on the
18   Eagan Avenatti, LLP (“EA”) servers.
19         Earlier today, the PRT and the defendant filed an update for the Court [Dkt. 766].
20   During the hearing that followed shortly thereafter, the Court instructed the defendant to
21   provide an update to the Court late in the day and after the defendant had been provided
22   an opportunity to learn more information about the status of the discovery from the
23   servers: “I would like at least a preliminary report of what Tabs data is there. It doesn’t
24   need to be exhaustive, but I would like to have that input before I consider Mr.
25   Avenatti’s motion at 706.” See, e.g., Trial Tr. (8/23/21) p. 5. In accordance with the
26   Court’s directive, defendant provides the following update.
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     Case 8:19-cr-00061-JVS Document 775 Filed 08/23/21 Page 3 of 9 Page ID #:17189




 1         1. The Production this Afternoon from the DOJ Computer Lab
 2         At approximately 4:00 p.m. this afternoon, defendant was provided with
 3   approximately 6 GB1 of data that had been located by Mr. Joseph Varani of the
 4   Department of Justice Computer Lab in Washington, D.C. This information consists of
 5   approximately 1,992 electronic files, with 1,822 files (in 98 folders) relating to Tabs and
 6   170 files (in 150 folders) relating to QuickBooks. All of this information was obtained
 7   from the forensic copies of the EA servers that have been in the possession of the DOJ
 8   since the Spring of 2019.2 None of the Tabs files were previously produced to the
 9   defendant prior to this afternoon. Some of the QuickBooks files are likely duplicates of
10   files that were previously produced, but the defense has not yet had an opportunity to
11   compare the QuickBooks files produced this afternoon with the prior productions in the
12   case. Further, it was discovered by the PRT and the defendant at approximately 6:00
13   p.m. this evening that not all of the Tabs data located on the forensic images was
14   captured and produced by Mr. Varani. There are additional files that have yet to be
15   produced. It is presently unclear as to when the remaining Tabs data will be provided to
16   the defendant.
17         2. Defendant’s Preliminary Review of the Tabs Data
18         As of this filing, defendant’s review of the Tabs data has been extremely limited.
19   However, even this preliminary review shows that the prejudice to the defendant in not
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       One GB holds a tremendous amount of data. For instance, E-mail files typically
21   average 100,099 pages per gigabyte, while Microsoft Word files typically
22   average 64,782 pages per gigabyte. Text files, on average, consist of a
     whopping 677,963 pages per gigabyte. At the opposite end of the spectrum, the average
23   gigabyte of images contains 15,477 pages; the average gigabyte of PowerPoint slides
24   typically includes 17,552 pages.
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25     Mr. Varani previously testified in the trial concerning the timing and method by which
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     the DOJ obtained the forensic copies of the servers. See, e.g., Trial. Tr. (7/23/21, Vol. 1)
     pp. 11-14; Trial Tr. (8/17/21, Vol. 1) pp. 59-63.
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     Case 8:19-cr-00061-JVS Document 775 Filed 08/23/21 Page 4 of 9 Page ID #:17190




 1   receiving this data long before trial is significant. Among other things, the data reflects
 2   the following:
 3         a. Exhibits 48 and 174 (the “DRAFT” tabs reports), which the government
 4             admitted into evidence early in the trial (July 21, 2021) and has repeatedly
 5             referenced and used with multiple witnesses, including Ms. Regnier, Special
 6             Agent Remoun Karlous, certain clients and Mr. Drum,3 are demonstrably false
 7             in that they do not reflect all of the expense and cost data;
 8         b. There are over 111 separate financial transactions in the Tabs data that show
 9             monies paid by the firm to clients in the indictment or on behalf of those
10             clients, which were not considered by Mr. Drum and were never included on
11             other exhibits the government moved into evidence;4
12         c. The Tabs data shows numerous payments made for the benefit of at least two
13             of the clients mentioned in the indictment shortly after settlements were
14             received and yet the government nor its expert ever accounted for these
15             payments;
16         d. Mr. Drum’s calculations relating to the monies owed to at least two of the
17             clients are erroneous in that Mr. Drum did not account for significant expenses
18             and costs shown in the Tabs data;
19         e. Hourly time was billed for at least one client matter for one of the clients in the
20             indictment and yet the client never directly paid the bill (meaning the hourly
21             fees were deducted from the settlement);
22         f. Time entries shedding light on the role of other law firm personnel in
23             connection with client settlements were never produced;
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25   3
      See Exhibit A.
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26    By way of example only, the government and Mr. Drum never accounted for a $37,724
     payment made by the firm on Mr. Johnson’s behalf.
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     Case 8:19-cr-00061-JVS Document 775 Filed 08/23/21 Page 5 of 9 Page ID #:17191




 1         g. The financial details – costs and time entries – for other work performed for
 2             certain of the clients in the indictment was never produced;
 3         h. The Tabs data files showing when costs were input for the clients in the
 4             indictment and by whom were never produced; and
 5         i. The Tabs log files and similar files which allow for an “audit trail” for client-
 6             related financial transactions were never produced.
 7         3. Defendant’s Review of the QuickBooks Data
 8         Defendant has not yet had an opportunity to review the large amount of
 9   QuickBooks data produced late this afternoon. It is expected that this review will take
10   considerable time.
11         4. Prejudice to the Defendant
12         As outlined in defendant’s motion and in his reply, the failure of the government
13   to produce this critical financial data until deep into the trial5 is seriously and
14   substantially prejudicial to the defendant. This information was required to be produced
15   pursuant to Rule 16, Brady and Giglio long ago. It was also required to be produced
16   pursuant to this Court’s January 2021 Order, which made clear to the government what
17   was required to be produced and the consequences for failing to do so. Equally
18   disturbing, the government was on notice of the importance of this information early on
19   in its investigation and yet did nothing to locate it and produce it. The defendant
20   repeatedly demanded all of the relevant financial data relating to the clients in the
21   indictment and was repeatedly told, along with the Court, that all such information had
22   been produced. This has now been shown to be false.
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      Even when defendant raised the failure to produce the data during trial repeatedly, the
     government did nothing to locate the data or attempt to comply with Brady and Giglio.
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     Case 8:19-cr-00061-JVS Document 775 Filed 08/23/21 Page 6 of 9 Page ID #:17192




 1           The suppression of this information prevented Mr. Avenatti from, among other
 2   things,6 (a) highlighting portions of it in his opening statement; (b) using the information
 3   to conduct cross-examinations of, and impeach, multiple clients, Ms. Regnier, Special
 4   Agent Remoun Karlous and Mr. Drum; (c) demonstrating before the jury that Exhibits
 5   48 and 174, repeatedly relied on by the government, were demonstrably false; (d)
 6   attacking Mr. Drum’s credibility by showing that his calculations were wrong because he
 7   failed to account for over 111 financial transactions (among other Tabs data); (e)
 8   showing that the clients were not owed what the government claims; (f) showing why
 9   the government’s failure to even look for, and consider, the Tabs data during their
10   alleged “investigation” was so material and egregious (see, e.g., Kyles v. Whitley, 514
11   U.S. 419, 445-449 (1995); and (g) formulating and implementing a trial strategy
12   designed around using this exculpatory data to its fullest potential.
13           For each of these reasons, the Court should grant the defendant’s motion at Docket
14   706.
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         Dated: August 23, 2021                 Respectfully submitted,
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17                                             /s/ Michael J. Avenatti
18                                              Defendant
                                                MICHAEL JOHN AVENATTI
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25    Because defendant has not yet had an opportunity to review the new information and
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     data in detail, and still does not have all of the information and data as of this filing,
     defendant is still assessing the full extent of the prejudice he has suffered above
27   “substantial.”
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     Case 8:19-cr-00061-JVS Document 775 Filed 08/23/21 Page 7 of 9 Page ID #:17193




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                                    EXHIBIT A
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Case 8:19-cr-00061-JVS Document 775 Filed 08/23/21 Page 8 of 9 Page ID #:17194




                      Instances Government Used Exhibit 481

    1. Trial Tr. July 27, 2021 (Vol. 1) p. 65 – Witness Judy Regnier

    2. Trial Tr. July 27, 2021 (Vol. 1) p. 72 – Witness Judy Regnier

    3. Trial Tr. July 27, 2021 (Vol. 1) p. 82 – Witness Judy Regnier

    4. Trial Tr. July 27, 2021 (Vol. 1) p. 125 – Witness Judy Regnier

    5. Trial Tr. July 29, 2021 (Vol. 2) p. 32 – Witness Judy Regnier

    6. Trial Tr. August 12, 2021 (Vol. 2) p. 60 – Witness John Drum

    7. Trial Tr. August 13, 2021 (Vol. 1) p. 23 – Witness John Drum

    8. Trial Tr. August 13, 2021 (Vol. 1) p. 31 – Witness John Drum

    9. Trial Tr. August 13, 2021 (Vol. 2) p. 69-70 – Witness John Drum

    10. Trial Tr. August 18, 2021 (Vol. 2) p. 28 – Witness Remoun Karlous


                     Instances Government Used Exhibit 1742


    1. Trial Tr. July 27, 2021 (Vol. 2) p. 61 – Witness Judy Regnier

    2. Trial Tr. July 27, 2021 (Vol. 2) p. 72 – Witness Judy Regnier

    3. Trial Tr. August 6, 2021 (Vol. 2) p. 13 – Witness Gregory Barela

    4. Trial Tr. August 17, 2021 (Vol. 2) p. 80 – Witness John Arden

    5. Trial Tr. August 18, 2021 (Vol. 2) p. 31 – Witness Remoun Karlous

1
  There were other instances where the exhibit was referred to but was not referenced as
Exhibit No. 48. These instances are not reflected in this list.
2
  There were other instances where the exhibit was referred to but was not referenced as
Exhibit No. 174. These instances are not reflected in this list.
     Case 8:19-cr-00061-JVS Document 775 Filed 08/23/21 Page 9 of 9 Page ID #:17195




 1
 2                                CERTIFICATE OF SERVICE
 3
           I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 4
 5   age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California.

 6   I am not a party to the above-entitled action. I have caused, on August 23, 2021, service
 7
     of the:
 8
 9     DEFENDANT’S STATUS REPORT RE SEARCH OF SERVERS FOR FINANCIAL
                                  DATA
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11
     on the following party, using the Court’s ECF system:
12
     AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
13
14   I declare under penalty of perjury that the foregoing is true and correct.
15
     Executed on August 23, 2021
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17                                           /s/ H. Dean Steward
18                                           H. Dean Steward
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